Case 1:20-cv-21716-FAM Document 1-7 Entered on FLSD Docket 04/24/2020 Page 1 of 2

  
    

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TRANSCRIPT OF BRITISH REGISTRY

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PARTICULARS OF SHIP
NUMBER, YEAR AND PORT OF
NAME OF SHIP REGISTRY OFFICIAL NUMBER
THE ROUND 57 IN 2013, GEORGE TOWN 745127
NAME & ADDRESS OF BUILDERS TYPE OF SHIP SIGNAL LETTERS
AZIMUT BENETTI S.p.A. PLEASURE YACHT ZGDH3
VIA M. COPPINO 104
55049 - VIAREGGIO MATERIAL USED TO CONSTRUCT IMO NUMBER (IF ANY)
ITALY ETAL
NUMBER, YEAR AND PORT OF PREVIOUS REGISTRY (IF ANY) GLASS REINFORCED PLASTIC -
DATE KEEL LAID DATE MEASURED
CZE0250 LEONARDO II PRAGUE
2004
PRINCIPAL DIMENSIONS
LENGTH (m): 27.08 THE TONNAGE(S) OF THIS SHIP IN ACCORDANCE WITH HER
BREADTH (m): 6.80 INTERNATIONAL TONNAGE CERTIFICATE (1969) ARE:
MOULDED DEPTH (m): 3.35 GROSS TONNAGE: 163
MOULDED DRAUGHT (m): 2.51 NET TONNAGE: 48
OVERALL LENGTH (m): 29.83 For ships under 24 metres length, the tonnage is the gross tonnage and net tonnage.

 

 

 

PARTICULARS OF ACCOMMODATION

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NUMBER OF SEAMEN (INCLUDING APPRENTICES) FOR WHOM ACCOMMODATION IS PROVIDED: 4
NUMBER OF PASSENGERS FOR WHOM ACCOMMODATION IS PROVIDED: 8
ENGINE AND BOILER PARTICULARS
DESCRIPTION OF ENGINES NAME & ADDRESS OF ENGINE MAKERS ENGINE DETAILS
MTU FRIEDRICHSHAFEN GMBH | NO. OF SETS: 2
MTU MODEL 16V2000M91 SERIAL MAYBACHPLATZ 1 NO. OF SHAFTS: 2
NO: 53610327/53610328 D-88045 FRIEDRICHSHAFEN
GERMANY WHEN MADE: 2003
NUMBER OF CYLINDERS IN EACH SET DIAMETER OF CYLINDERS (mm) LENGTH OF STROKE (mm)
12
DESCRIPTION OF BOILERS NAME & ADDRESS OF BOILER MAKERS BOILER DETAILS
NUMBER: %
WORKING
- . PRESSURE:
WHEN MADE: as
ADDITIONAL PARTICULARS
ESTIMATED BRAKE POWER (kW) ESTIMATED SPEED OF SHIP (knots) METHOD OF PROPULSION
2984 20 MOTOR
NAME AND ADDRESS OF THE OWNER NUMBER OF SIXTY-FOURTH SHARES
VIOLET ADVISORS, S.A. 64 SHARES

PANAMA CITY
REPUBLIC OF PANAMA

DATE OF INITIAL REGISTRATION: 06 JUNE 2013.

 

 
Case 1:20-cv-21716-FAM Document 1-7 Entered on FLSD Docket 04/24/2020 Page 2 of 2
OUTSTANDING MORTGAGE DETAILS

 

 

NO MORTGAGES REGISTERED IN THE CAYMAN ISLANDS

 

I hereby certify that the foregoing printed and written particulars are a true extract from the Register now in my charge, showing
the descriptive particulars, present registered ownership and free of mortgages of the vessel THE ROUND, Official Number
745127.

DATED: 15 April 2020

Pbks

REGISTRAR OF BRITISH SHIPS
GEORGE TOWN
CAYMAN ISLANDS

15-APR-2020 09:38:17 (GMT-5)

 
